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                    IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF PENNSYLVANIA

EDWARD LEON MAJOR,
                                            FILED ELECTRONICALLY
       Plaintiff,
                                            CIV. ACTION NO. 1:21-cv-00068
       vs.

MICHAEL J. EDWARDS, et al.,                 JURY TRIAL DEMANDED

       Defendants.

                    ANSWER AND AFFIRMATIVE DEFENSES

      Now comes, Defendant Michael Herbik, D.O. (“Answering Defendant”) by

and through his attorneys, Weber Gallagher Simpson Stapleton Fires & Newby,

LLP, and files the within Answer and Affirmative Defenses to Plaintiff’s Amended

Complaint (ECF No. 98):

                               INTRODUCTION

      1-2. The corresponding paragraphs of Plaintiff’s Amended Complaint state

legal conclusions, to which no response is required. Further, Plaintiff’s complete

medical records provide the best evidence as to Plaintiff’s actual symptoms,

diagnoses, and treatment plan which speak for themselves. As such, Answering

Defendant denies the allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint.

                                   The Parties

      3.     Admitted, upon information and belief.
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        4.    The allegations of the corresponding paragraph of Plaintiff’s Amended

Complaint are directed to other parties, not Answering Defendant.          As such,

Answering Defendant denies the allegations of the corresponding paragraph of

Plaintiff’s Amended Complaint.        Further, pursuant to the Court’s Order of

September 29, 2023, Defendant Halligan was dismissed from this action. (ECF No.

132).

        5-13. The allegations of the corresponding paragraphs of Plaintiff’s Amended

Complaint are directed to other parties, not Answering Defendant.          As such,

Answering Defendant denies the allegations of the corresponding paragraphs of

Plaintiff’s Amended Complaint.

        14.   It is admitted that Dr. Herbik worked at SCI-Fayette to provide medical

care to the inmates therein. All other allegations contained within the corresponding

paragraph of Plaintiff’s Amended Complaint are denied as stated.

        15-17.      The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint.

        18.   The corresponding paragraph of Plaintiff’s Amended Complaint

merely provides a reference name for certain defendants, and, as such, no response

is required of Answering Defendant. To the extent a response is required, Answering


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Defendant denies the allegations of the corresponding paragraph of Plaintiff’s

Amended Complaint.

                        JURISDICTION AND VENUE

      19-20. The corresponding paragraphs of Plaintiff’s Amended Complaint state

legal conclusions, to which no response is required. As such, Answering Defendants

deny the allegations of the corresponding paragraphs of Plaintiff’s Amended

Complaint.

                                    FACTS

      21-22. The corresponding paragraphs of Plaintiff’s Amended Complaint state

legal conclusions, to which no response is required. As such, Answering Defendants

deny the allegations of the corresponding paragraphs of Plaintiff’s Amended

Complaint. Further, Plaintiff’s complete medical records provide the best evidence

as to Plaintiff’s actual symptoms, diagnoses, and treatment plan which speak for

themselves. As such, Answering Defendant denies the allegations of the

corresponding paragraphs of Plaintiff’s Amended Complaint.

      DOC Personnel Misdiagnose Major’s Heart Attack and Fail to Provide
      Proper Treatment

      23-50.   The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint. Further, Plaintiff’s complete medical records
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provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      Major Subjected to Excessive Use of Force

      51-71.    The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint. Further, Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      SCI-Albion Transfers Major to SCI-Fayette

      72-79.    The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint. Further, Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      SCI-Fayette Transfers Major to SCI-Greene


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      80-97.    The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint. Further, Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      SCI-Greene Transfers Major Back to SCI-Fayette

      98.    The allegations of the corresponding paragraphs of Plaintiff’s Amended

Complaint are directed to other parties, not Answering Defendant.          As such,

Answering Defendant denies the allegations of the corresponding paragraphs of

Plaintiff’s Amended Complaint.

      Major Again Exposed to O/C Spray Despite his Medical Condition

      99.   Answering Defendant denies the allegations in the corresponding

paragraph of Plaintiff’s Amended Complaint. Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraph of Plaintiff’s Amended Complaint.

      100-102. The corresponding paragraphs of Plaintiff’s Amended Complaint

state legal conclusions, to which no response is required. Further, Plaintiff’s


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complete medical records provide the best evidence as to Plaintiff’s actual

symptoms, diagnoses, and treatment plan which speak for themselves. As such,

Answering Defendant denies the allegations of the corresponding paragraphs of

Plaintiff’s Amended Complaint.

      103-106. After reasonable investigation, Answering Defendant is without

sufficient knowledge or information to form a belief as to the truth of the allegations

contained in the corresponding paragraph of Plaintiff’s Amended Complaint, and

therefore, denies the same. As such, Answering Defendant denies the allegations of

the corresponding paragraphs of Plaintiff’s Amended Complaint.

      107. Answering Defendant denies the allegations in the corresponding

paragraph of Plaintiff’s Amended Complaint. Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraph of Plaintiff’s Amended Complaint.

      108-109. After reasonable investigation, Answering Defendant is without

sufficient knowledge or information to form a belief as to the truth of the allegations

contained in the corresponding paragraph of Plaintiff’s Amended Complaint, and

therefore, denies the same. As such, Answering Defendant denies the allegations of

the corresponding paragraphs of Plaintiff’s Amended Complaint.




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      110-115. Answering Defendant denies the allegations in the corresponding

paragraphs of Plaintiff’s Amended Complaint. Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      116. Inasmuch as the allegations of the corresponding paragraph of Plaintiff’s

Amended Complaint reference a written letter, the best evidence of this writing is

the actual document which speaks for itself. As such, Answering Defendant denies

the allegations of the corresponding paragraph of Plaintiff’s Amended Complaint.

      117-118. Answering Defendant denies the allegations in the corresponding

paragraphs of Plaintiff’s Amended Complaint. Plaintiff’s complete medical records

provide the best evidence as to Plaintiff’s actual symptoms, diagnoses, and treatment

plan which speak for themselves. As such, Answering Defendant denies the

allegations of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      119. The corresponding paragraph of Plaintiff’s Amended Complaint states

legal conclusions, to which no response is required. Further, Plaintiff’s complete

medical records provide the best evidence as to Plaintiff’s actual symptoms,

diagnoses, and treatment plan which speak for themselves. As such, Answering

Defendant denies the allegations of the corresponding paragraph of Plaintiff’s

Amended Complaint.


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                         COUNT ONE
                  EXCESSIVE USE OF FORCE
          IN VIOLATION OF THE EIGHTH AMENDMENT
   OF THE UNITED STATES CONSTITUTION UNDER 42 U.S.C. §1983
                      Defendant John Doe

      120. Answering Defendant incorporates herein, his responses and answers to

paragraphs 1-119 of Plaintiff’s Amended Complaint as if fully set forth in the

entirety.

      121-128. The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint.

                            COUNT TWO
   DELIBERATE INDIFFERENCE TO MAJOR’S SERIOUS MEDICAL
   NEEDS IN VIOLATION OF THE EIGHTH AMENDMENT OF THE
      UNITED STATES CONSTITUTION UNDER 42 U.S.C. §1983
      Defendants Halligan, Edwards, Nicholson, Herbik, and Bright

      129. Answering Defendant incorporates herein, his responses and answers to

paragraphs 1-128 of Plaintiff’s Amended Complaint as if fully set forth in the

entirety.

      130-137. The corresponding paragraphs of Plaintiff’s Amended Complaint

states legal conclusions, to which no response is required. Further, Plaintiff’s

complete medical records provide the best evidence as to Plaintiff’s actual

symptoms, diagnoses, and treatment plan which speak for themselves. As such,


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Answering Defendant denies the allegations of the corresponding paragraphs of

Plaintiff’s Amended Complaint.

                          COUNT THREE
   DELIBERATE INDIFFERENCE TO MAJOR’S SERIOUS MEDICAL
   NEEDS IN VIOLATION OF THE EIGHTH AMENDMENT OF THE
      UNITED STATES CONSTIUTTION UNDER 42 U.S.C. § 1983
        Defendants Ochs, Clark, Matiyasic, John Doe, and Carns

      138. Answering Defendant incorporates herein, his responses and answers to

paragraphs 1-137 of Plaintiff’s Amended Complaint as if fully set forth in the

entirety.

      139-146. The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As

such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint.

                           COUNT FOUR
                           RETALIATION
           IN VIOLATION OF THE FIRST AMENDMENT
   OF THE UNITED STATES CONSTITUTION UNDER 42 U.S.C. § 1983
            Defendants Clark, Ennis, Erickson, and Ohrman

      147. Answering Defendant incorporates herein, his responses and answers

to paragraphs 1-146 of Plaintiff’s Amended Complaint as if fully set forth in the

entirety.

      148-154. The allegations of the corresponding paragraphs of Plaintiff’s

Amended Complaint are directed to other parties, not Answering Defendant. As


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such, Answering Defendant denies the allegations of the corresponding paragraphs

of Plaintiff’s Amended Complaint.

                            PRAYER FOR RELIEF

      The corresponding paragraphs—outlined as paragraphs 1-7—of Plaintiff’s

Amended Complaint state legal conclusions or make requests for legal relief, to

which no response is required. As such, Answering Defendants deny the allegations

of the corresponding paragraphs of Plaintiff’s Amended Complaint.

      WHEREFORE, Defendant Dr. Herbik seeks judgment in his favor and against

Plaintiff, dismissing Plaintiff’s Amended Complaint together with an award of costs

and disbursements incurred by Defendant, including attorneys’ fees together with

such other relief in favor of Defendant as this Honorable Court shall deem

appropriate under the circumstances.

JURY TRIAL DEMANDED

                          AFFIRMATIVE DEFENSES

                      FIRST AFFIRMATIVE DEFENSE

      To the extent Plaintiff’s claims may be barred by the applicable statute of

limitations, they must be dismissed.

                     SECOND AFFIRMATIVE DEFENSE

      To the extent Plaintiff has failed to fully and properly exhaust available

administrative remedies as to Answering Defendant and/or as to any or all matters


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complained of in his Amended Complaint, Plaintiff’s claims against Answering

Defendant are barred by the Prison Litigation Reform Act, 42 U.S.C. § 1997e.

                       THIRD AFFIRMATIVE DEFENSE

      Answering Defendant pleads as defenses all limitations on damages imposed

by 42 U.S.C. §1997e, including the limitation on recovery for mental or emotional

injury, and the limitation on attorneys’ fees.

                      FOURTH AFFIRMATIVE DEFENSE

      Plaintiff’s Amended Complaint fails to state a claim for relief or cause of

action upon which relief can be granted.

                        FIFTH AFFIRMATIVE DEFENSE

      At no time did Answering Defendant deprive Plaintiff of any right as protected

under the Eighth Amendment to the United States Constitution, 42 U.S.C.A. § 1983

or any other state or federally protected right or privilege.

                        SIXTH AFFIRMATIVE DEFENSE

      At no time did Answering Defendant demonstrate any indifference, deliberate

or otherwise, toward any legitimate and/or serious medical need of the Plaintiff.

                     SEVENTH AFFIRMATIVE DEFENSE

      At no time did Answering Defendant fail to provide necessary medical care

or otherwise refuse to treat or intentionally maltreat Plaintiff.




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                       EIGHTH AFFIRMATIVE DEFENSE

         At all times, Plaintiff was provided reasonable and appropriate treatment in

accordance with applicable state and federal laws and the United States Constitution

and the Constitution of the Commonwealth of Pennsylvania.

                        NINTH AFFIRMATIVE DEFENSE

         Any injuries and/or damages actually sustained by Plaintiff, which are herein

specifically denied, were caused by himself or other persons, entities or events, over

which Answering Defendant had no control or duty to control.

                        TENTH AFFIRMATIVE DEFENSE

         The treatment afforded to Plaintiff by Answering Defendant was, at all

material times, in accordance with the applicable standards of professional medical

care.

                      ELEVENTH AFFIRMATIVE DEFENSE

         Answering Defendant pleads all defenses afforded to him pursuant to the

MCARE Act at 40 P.S. 1303.101 et seq.

                      TWELFTH AFFIRMATIVE DEFENSE

         Plaintiff’s Amended Complaint fails to allege and/or set forth a cognizable

claim for punitive damages and/or exemplary damages against Answering

Defendant.




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                  THIRTEENTH AFFIRMATIVE DEFENSE

      Plaintiff’s cause of action is barred in whole or reduced in part by the

applicable doctrines of assumption of the risk, comparative negligence, and/or

contributory negligence.

                  FOURTEENTH AFFIRMATIVE DEFENSE

      Plaintiff’s Amended Complaint fails to allege and/or set forth a cognizable

claim for a violation of 42 U.S.C. § 1983.

                   FIFTEENTH AFFIRMATIVE DEFENSE

      Answering Defendant raises the defense of qualified immunity to the extent it

may be deemed to apply.

                   SIXTEENTH AFFIRMATIVE DEFENSE

      Answering Defendant asserts all defenses available under the Federal Health

Care Quality Improvement Act, 42 U.S.C.A. §11101 et seq.

                 SEVENTEENTH AFFIRMATIVE DEFENSE

      Answering Defendant reserves the right to amend his Answer and Affirmative

Defenses to Plaintiff’s Amended Complaint and to assert each and every affirmative

defense as provided by Rules 8 and 12(b) of the Federal Rules of Civil Procedure or

otherwise as the facts of this case are developed after investigation and discovery.

                                       Respectfully submitted,

                           WEBER GALLAGHER SIMPSON STAPLETON
                                   FIRES & NEWBY LLP
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                         CERTIFICATE OF SERVICE

     I, Benjamin M. Lombard, Esquire, hereby certify that on this date a true and

correct copy of the foregoing ANSWER AND AFFIRMATIVE DEFENSES was

served upon the following via CM/ECF:


                              David R. Osipovich
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                                 Jonathan Vaitl
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                                         /s/ Benjamin M. Lombard
                                    Benjamin M. Lombard, Esquire

Dated: January 9, 2024




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